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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

SWISSDIGITAL USA CO., LTD.,                       §
          Plaintiff,                              §
                                                  §       Case No. 6:21-cv-453-ADA
v.                                                §
                                                  §       JURY TRIAL DEMANDED
WENGER S.A.                                       §
          Defendant.                              §



                                 AGREED SCHEDULING ORDER


         Deadline                                              Item

    Previously Served on    Plaintiff serves preliminary 1 infringement contentions in the form of a
    November 24, 2021       chart setting forth where in the accused product(s) each element of the
                            asserted claim(s) are found. Plaintiff shall also identify the earliest
                            priority date (i.e. the earliest date of invention) for each asserted claim
                            and produce: (1) all documents evidencing conception and reduction
                            to practice for each claimed invention, and (2) a copy of the file
                            history for each patent in suit.
    December 8, 2021        The Parties shall submit an agreed Scheduling Order. If the parties
                            cannot agree, the parties shall submit a separate Joint Motion for entry
                            of Scheduling Order briefly setting forth their respective positions on
                            items where they cannot agree. Absent agreement of the parties, the
                            Plaintiff shall be responsible for the timely submission of this and
                            other Joint filings.




1The parties may amend preliminary infringement contentions and preliminary invalidity
contentions without leave of court so long as counsel certifies that it undertook reasonable efforts
to prepare its preliminary contentions and the amendment is based on material identified after
those preliminary contentions were served, and should do so seasonably upon identifying any
such material. Any amendment to add patent claims requires leave of court so that the Court can
address any scheduling issues.

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          Deadline                                          Item

    January 19, 2022      Defendant serves preliminary invalidity contentions in the form of (1)
                          a chart setting forth where in the prior art references each element of
                          the asserted claim(s) are found, (2) an identification of any limitations
                          the Defendant contends are indefinite or lack written description under
                          section 112, and (3) an identification of any claims the Defendant
                          contends are directed to ineligible subject matter under section 101.
                          Defendant shall also produce (1) all prior art referenced in the
                          invalidity contentions, and (2) technical documents, including
                          software where applicable, sufficient to show the operation of the
                          accused product(s).
    January 26, 2022      Parties exchange claim terms for construction.

    February 9, 2022      Parties exchange proposed claim constructions.

    February 16, 2022     Parties disclose extrinsic evidence. The parties shall disclose any
                          extrinsic evidence, including the identity of any expert witness they
                          may rely upon with respect to claim construction or indefiniteness.
                          With respect to any expert identified, the parties shall identify the
                          scope of the topics for the witness’s expected testimony. 2 With respect
                          to items of extrinsic evidence, the parties shall identify each such item
                          by production number or produce a copy of any such item if not
                          previously produced.
    February 23, 2022     Deadline to meet and confer to narrow terms in dispute and exchange
                          revised list of terms/constructions.


    March 10, 2022        Defendant files Opening claim construction brief, including any
                          arguments that any claim terms are indefinite.
    April 7, 2022         Plaintiff files Responsive claim construction brief.

    April 21, 2022        Defendant files Reply claim construction brief.

    May 5, 2022           Plaintiff files a Sur-Reply claim construction brief.

    May 10, 2022          Parties submit Joint Claim Construction Statement.
                          See General Issues Note #9 regarding providing copies of the briefing
                          to the Court and the technical adviser (if appointed).
    May 12, 2022          Parties submit optional technical tutorials to the Court and technical
                          adviser (if appointed).


2Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied
upon by the other party.

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      Deadline                                        Item

May 19, 2022        Markman Hearing at 9:00 a.m. This date is a placeholder and the
                    Court may adjust this date as the Markman hearing approaches.
May 20, 2022        Fact Discovery opens; deadline to serve Initial Disclosures per Rule
                    26(a).
June 30, 2022       Deadline to add parties.

July 14, 2022       Deadline to serve Final Infringement and Invalidity Contentions.
                    After this date, leave of Court is required for any amendment to
                    infringement or invalidity contentions. This deadline does not relieve
                    the parties of their obligation to seasonably amend if new information
                    is identified after initial contentions.
September 8, 2022   Deadline to amend pleadings. A motion is not required unless the
                    amendment adds patents or patent claims. (Note: This includes
                    amendments in response to a 12(c) motion.)
November 17, 2022   Deadline for the first of two meet and confers to discuss significantly
                    narrowing the number of claims asserted and prior art references at
                    issue. Unless the parties agree to the narrowing, they are ordered to
                    contact the Court’s Law Clerk to arrange a teleconference with the
                    Court to resolve the disputed issues.
December 15, 2022   Close of Fact Discovery.

December 22, 2022   Opening Expert Reports.

January 19, 2023    Rebuttal Expert Reports.

February 9, 2023    Close of Expert Discovery.

February 16, 2023   Deadline for the second of two meet and confers to discuss narrowing
                    the number of claims asserted and prior art references at issue to
                    triable limits. To the extent it helps the parties determine these limits,
                    the parties are encouraged to contact the Court’s Law Clerk for an
                    estimate of the amount of trial time anticipated per side. The parties
                    shall file a Joint Report within 5 business days regarding the results of
                    the meet and confer.
February 23, 2023   Dispositive motion deadline and Daubert motion deadline.
                    See General Issues Note #9 regarding providing copies of the briefing
                    to the Court and the technical adviser (if appointed).
March 9, 2023       Serve Pretrial Disclosures (jury instructions, exhibits lists, witness
                    lists, discovery and deposition designations).




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       Deadline                                            Item

 March 23, 2023         Serve objections to pretrial disclosures/rebuttal disclosures.

 March 23, 2023         Parties email the Court’s law clerk to confirm pretrial and trial dates

 March 30, 2023         Serve objections to rebuttal disclosures; file Motions in limine.

 April 6, 2023          File Joint Pretrial Order and Pretrial Submissions (jury instructions,
                        exhibits lists, witness lists, discovery and deposition designations); file
                        oppositions to motions in limine
 April 13, 2023         File Notice of Request for Daily Transcript or Real Time Reporting. If
                        a daily transcript or real time reporting of court proceedings is
                        requested for trial, the party or parties making said request shall file a
                        notice with the Court and e-mail the Court Reporter, Kristie Davis at
                        kmdaviscsr@yahoo.com
                        Deadline to meet and confer regarding remaining objections and
                        disputes on motions in limine.
 April 24, 2023         File joint notice identifying remaining objections to pretrial
                        disclosures and disputes on motions in limine.

 April 27, 2023         Final Pretrial Conference.
 May 18, 2023           Jury Selection/Trial.




SIGNED this 10th day of October, 2021.




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